   Case
    Case1:17-cv-02989-AT
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                           Document1629-1
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           IN THE UNITED STATES DISTRICT COURT FOR
              THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

                                                 )
DONNA CURLING, et al.                            )
                                                 )
Plaintiff,                                       )
                                                 ) CIVIL ACTION FILE
vs.                                              ) NO.: 1:17-cv-2989-AT
                                                 )
BRAD RAFFENSPERGER, et al.                       )
                                                 )
Defendant.                                       )
                                                 )
                                                 )

                  DECLARATION OF BRUCE P. BROWN

      Bruce P. Brown hereby declares under penalty of perjury, pursuant to

28 U.S.C. § 1746, that the following is true and correct:

      1.       I have personal knowledge of all facts stated in this declaration,

and if called to testify, I could and would testify competently thereto.

      2.       I represent the Coalition Plaintiffs in this case.

      3.       Attached as Exhibit 1 is a screenshot of a photograph that

accompanied an Atlanta Journal Constitution article by Mark Niesse dated

January 10, 2023.

      4.       Attached as Exhibit 2 is a true and correct copy of a December

4, 2022 memo from the Election Division to county election officials.

Coalition Plaintiffs received this document in response to an Open Records

Act request.


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                                                                                2
                                                                           Friday, February 10, 2023 at 23:16:10 Eastern Standard Time


Subject:    Emergency Elector's List
Date:       Sunday, December 4, 2022 at 4:09:11 PM Eastern Standard Time
From:       ElecAons Division - Do Not Reply
To:         Black, Josh, Davenport, Angela, Deering, Amanda, Golden, Tyrell
CC:         Evans, Blake, Harris, Jesse, Combs, Leigh, Northen, Nicolas, Anglin, Rebecca, Simmons, Rachell
ABachments: image001.jpg

Dear County ElecAon Oﬃcials,

Your Emergency Backup List has been placed on Filezilla (County FTP folder – SOS COMMS) for you to retrieve, print and
distribute to all your polling locaAons. This list contains all data on the county electors list by precinct, addiAonally denotes
voters who have voted AIP or was issued an ABM.

It is criAcal you distribute these in the event a polling locaAon should experience an emergency.

Thank you,

Nick Northen, ElecAon Systems and Data Manager
Georgia Secretary of State
ElecFons Division
Main Oﬃce: 404-656-2871
sos.ga.gov




This message is intended exclusively for the individual or enAty to which it is addressed. This communicaAon may contain informaAon
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